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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



  IN RE: VALSARTAN,
  LOSARTAN, AND IRBESARTAN                                              MDL No. 2875
  PRODUCTS LIABILITY
  LITIGATION
                                                              HON. ROBERT B. KUGLER
  THIS DOCUMENT RELATES TO ALL
  CASES



                  NOTICE TO TAKE VIDEOTAPED ORAL DEPOSITION


 TO:    Seth A. Goldberg, Esq,
        DUANE MORRIS LLP
        30 South 17th Street
        Philadelphia, Pennsylvania 19103
        Attorneys for Defendants Zhejiang Huahai Pharmaceutical Co, Ltd., Huahai U.S., Inc.,
        Prinston Pharmaceutical Inc., and Solco Healthcare US, LLC (hereinafter “Defendants”).

        Please take notice that pursuant to Federal Rule of Civil Procedure 30, and other applicable

 Rules, including the Local Civil Rules, and the applicable Orders of the Court, Plaintiffs, by and

 through their counsel, will take the videotaped deposition of Min Li, Vice President of Analytical

 Operation at Zhejiang Huahai Pharmaceutical Co, Ltd., on April 20 through 23, 2021, at 7:00 a.m.

 Hong Kong time (April 19 through 22, 2021, at 7:00 p.m. eastern time), and continuing until

 completion, at Duane Morris LLP, 30 South 17th Street, Philadelphia, Pennsylvania 19103, via

 Zoom, in accordance with the Fact Witness Deposition Protocol, Case Management Order #20,

 filed November 17, 2020 (Document 632). The deposition shall first address the Federal Rule of

 Civil Procedure 30(b)(6) topics listed on Exhibit A attached hereto, followed by deposition of the

 witness in his individual capacity. The witness shall produce the documents requested at Exhibit

 B, attached hereto, at least five days in advance of the deposition.
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        Pursuant to the meet and confer between the parties, a translator will not be provided.

 TAKING ATTORNEY FOR PLAINTIFFS:

 ADAM M. SLATER, ESQ.
 Mazie Slater Katz & Freeman, LLC
 103 Eisenhower Parkway
 Roseland, NJ 07068
 Telephone: 973-228-9898
 Fax: 973-228-0303
 aslater@mazieslater.com

        The videotaped deposition will be taken before a person authorized by law to administer

 oaths, pursuant to Rule 28 of the Federal Rules of Civil Procedure.

 April 12, 2021

                                                     PLAINTIFFS’ CO-LEAD COUNSEL

                                                     By: /s/Adam M. Slater______________
                                                     ADAM M. SLATER
                                                     Mazie Slater Katz & Freeman, LLC
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                                          EXHIBIT A

                                       30(B)(6) TOPICS
 On behalf of Zhejiang Huahai Pharmaceutical Co., Ltd:

                                    Testing of Valsartan API

        1. The cause of the contamination of ZHP’s valsartan API with nitrosamines including

 NDMA.

        2. The root cause investigation for the nitrosamine impurities, including NDMA and

 NDEA in the ZHP API.

        7. The chromatogram and mass spectrometry results for all testing by ZHP or its agents of

 ZHP’s valsartan API (regardless of intended sale location) manufactured in any facility that

 manufactured ZHP’s valsartan API for sale in the United States.

                                      Process Development

        36. ZHP’s evaluation and knowledge of the health risks of nitrosamines including NDMA

 and NDEA, including but not limited to as a contaminant of ZHP’s valsartan API, and ZHP’s

 valsartan finished dose.
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                                         EXHIBIT B

                                 DOCUMENT REQUESTS

    1. The most recent resume/Curriculum Vitae and LinkedIn profile for Min Li.

    2. The complete production of Min Li’s relevant custodial documents, including those
       maintained on personal computers or electronic devices, to the extent not produced prior.
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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



  IN RE: VALSARTAN,
  LOSARTAN, AND IRBESARTAN                                         MDL No. 2875
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  THIS DOCUMENT RELATES TO ALL
  CASES




                                CERTIFICATE OF SERVICE

        I hereby certify that on April 12, 2021, I electronically filed the foregoing document with

 the Clerk of the court using CM/ECF system which will send notification of such filing to the

 CM/ECF participants registered to receive service in this MDL.

                                                     PLAINTIFFS’ CO-LEAD COUNSEL

                                                     By:    /s/Adam M. Slater______________
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